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                     Exhibit "E"
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                             SETTLEMENT AGREEMENT


       This Settlement Agreement ("Settlement Agreement") is made by and between
                                                                          /
The Law Offices of Bruce J. Chasan, LLC, Bruce J. Chasan, Esq., LeR\Y88a H~:ih8M,             /
John M. Pierce, Esq, and the law firm Pierce Bainbridge Beck Price & Hecht, LLP

(including its partners, 1:1ssociates, and employees), and including any and all

representatives, agents, servants, successors in interests, and/or assigns of all of the

foregoing.

                                         RECITALS

       A.     On or about Dec. 31, 2016, Lenwoo                        ed The Law Offices

of Bruce J. Chasan, LLC to represent him

of publicity and related claims.                           ., Lester Speight, and Microsoft

                                                   bsidiaries of Microsoft Corporation),

                                      n's likeness and voice in the Gears of War

videogame series, and        at date Hamilton signed an Engagement Letter provided by

the Law Offices of Bruce J. Chasan, LLC;

       B.     The Engagement Letter signed by Hamilton on or about Dec. 31, 2016

provided numerous terms including, inter alia, that the representation claims would be

handled as a contingent fee matter, but if Hamilton terminated the representation, he

would be liable for hourly attorney's fees on a quantum meruit basis;

       C.     On January 11, 2017, Attorney Bruce J. Chasan, Esq., of The Law Offices

of Bruce J. Chasan, LLC filed a civil action complaint in the U.S. District Court for the


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Eastern District of Pennsylvania, Lenwood Hamilton v. Lester Speight, et al., No. 2017-

cv-0169-AB, to assert Hamilton's right of publicity claims;

       D.     Attorney Chasan filed an Amended Complaint for Hamilton on or about

Feb. 14, 2017, and a Second Amended Complaint on or about April14, 2017;

       E.     Attorney Chasan responded to motions to dismiss the Amended Complaint

and the Second Amended Complaint, and on December 18, 2017, the court denied the

motion to dismiss the Second Amended Complaint;

       F.     Attorney Chasan framed and served discovery to ~e defendants;

       G.     Attorney Chasan worked with Hamilton t                ctions and responses to

discovery requests served to Hamilton by the De

       H.                                                  was introduced to Attorney



financing to pay t.

       I.                       h 20, 2018, Chasan arranged for Hamilton to meet with

Pierce and himself at the premises of The Law Offices of Bruce J. Chasan, LLC, in

Philadelphia, PA to discuss possible joint representation and financing the litigation;

       J.     Hamilton had had no prior contact with Pierce before the March 20,2018

meeting at the premises of The Law Offices of Bruce J. Chasan, LLC;

       K.       On or about March 27, 2018, Hamilton terminated the representation of

Chasan and the Law Offices of Bruce J. Chasan, LLC, and retained Pierce and Pierce's

law firm, Pierce Bainbridge Beck Price & Hecht, LLP;



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       L.      Hamilton terminated Chasan without payment of any accrued hourly fees

based on quantum meruit;

       M.      On or about March 28, 2018, Chasan brought to Pierce's attention that

Hamilton was liable to the Law Offices of Bruce J. Chasan, LLC, for attorney's fees,

which amounted to approximately $320,000 based on hourly billing, and Chasan

r~quested   payment from Pierce Bainbridge Beck Price & Hecht, LLP;

       N.      On or about April28, 2018, Chasan informed Pierce that because neither

Hamilton nor anyone else had paid the accrued legal fees of The Law Offices of Bruce J.

Chasan, LLC, the Law Offices pf Bruce J. Chasan, LLC               n would seek recourse

by filing a lawsuit against Pierce and the law finn                  Beck Price & Hecht,

LLP;

       0.

Chasan to resolve ·

       P.                       's settlement overture, Chasan and The Law Offices of

Bruce J. Chasan, LLC refrained from filing suit and engaged with Pierce over a period of

more thap. four months to exchange settlement proposals.

                                     TERMS
                                      ('''




       1.      Paymept. Lenwood Hamilton and Pierce Bainbridge Beck Price & Hecht,

LLP, or either of them, singly or in combination, shall pay The Law Offices of Bruce J.

Chasan, LLC the sum of One Hundred Sixty Thousand Dollars ($160,000.00) in full

satisfaction of any and all claims of any nature against Lenwood Hamilton, Pierce

Bainbridge Beck Price & Hecht, LLP and any of its employees, attorneys, Associates,
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Co-Counsel, Partners, including its Managing Partner, John M. Pierce, and any successor

law firm to Pierce Bainbridge Beck Price & Hecht, LLP, and any of its accountants,

bookkeepers or independent contractors, that could be asserted by The Law Offices of

Bruce J. Chasan, LLC and Bruce J. Chasan, Esq., and any successor law finn to The Law

Offices of Bruce J. Chasan, LLC, against any of them, whether or not any such claims

arise out of Attorney Chasan's representation of Hamilton in the case of Lenwood

Hamilton v. Lester Speight, et al., Case Number 2017-cv-0169-AB filed in the U.S.

District Court for the Eastern District of Pennsylvania.


       2.      No other payment. Except for the pa                   raph 1 above, there

will be no further payment to The Law Offi

Chasan~   Esq. of any kind for any                          idge Beck Price & Hecht, LLP,

                                                  , regardless of the outcome of Hamilton's

right of publicity c                 'strict Court in the Eastern District of Pennsylvania.

       3.                      san Parties. In consideration of the payment in paragraph

1 above, The Law Offices of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq. henceforth

remise, release and forever discharge any and all claims demands, actions, causes of

action, suits, debts, torts or contracts whatsoever, in law or at equity, against Lenwood

Hamilton, Pierce Bainbridge Beck Price & Hecht, LLP, any successor to the law firm of

Pierce Bainbridge Beck Price & Hecht, LLP, and any of its employees, attorneys,

Associates, Co-Counsel, Partners, including its Managing Partner, John M. Pierce, and

any of its accountants, bookkeepers or independent contractors, that could be asserted by


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The Law Offices of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq. against any of them,

whether or not any such claims arise out of Attorney Chasan's representation of Hamilton

in the case of Lenwood Hamilton v. Lester Speight, et al., Case Number 2017-cv-0169-

AB filed in the U.S. District Court for the Eastern District of Pennsylvania.

       4.     Release by John Pierce and by the Pierce Bainbridge law firm. John M.

Pierce, Esq., and Pierce Bainbridge Beck Price & Hecht, LLP, henceforth remise, release

and forever discharge any and all claims, demands, actions, causes of action, suits, debts,

torts or contracts whatsoever, in law or at equity, against The Law Offices of Bruce J.

Chasan, LLC and Bruce J. Chasan, Esq., any successor t

Offices of Bruce J. Chasan, and any employees, a                       s, Co-Counsel,

Partners, including Bruce J. Chasan, and



representation of                           enwood Hamilton v. Lester Speight, et al.,

Case Number 2017 -c               filed in the U.S. District Court for the Eastern District of

Pennsylvania.

       5.       Non-disparagement. John M. Pierce, Esq., and Pierce Bainbridge Beck

Price & Hecht, LLP (the "Pierce Bainbridge Parties") on one side, and The Law Offices

of Bruce J. Chasan, LLC and Bruce J. Chasan, Esq. (the "Chasan Parties") on the other

side, each agree to non-disparagement of anyone among the signatories to this Settlement

Agreement, whether or not in connection with the handling of Hamilton's right of

publicity case in the U.S. District Court for the Eastern District of Pennsylvania.



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       6.     No Admission of Liability. The payment in paragraph 1 above shall not be

construed as an admission of liability; the payment is being made solely for the purpose

of compromising disputed claims and avoiding the uncertainty, nuisance and expense of

litigation.

        7.    Warranties. The Chasan Parties warrant that they know of no other

persons who have any interest in attorney's fees in connection with Hamilton's right of

publicity case in the U.S. District Court for the Eastern District of Pennsylvania;     The

Pierce Bainbridge Parties each warrant that they know of no other persons who have any

interest in the Chasan Parties' handling of Hamilton'~~
                                                      '   ;J~"'


District Court for the Eastern District ofPennsylv

        8.                                                        This Settlement Agreement may



delivery shall bind

        9.                      er of Payment. The $160,000.00 payment called for in

paragraph 1 abov~ shall be made within seven (7) days of the execution of this Settlement

Agreement by all signatories to this Settlement Agreement; said payment may be made

by check payable to The Law Offices of Bruce J. Chasan, LLC, or by wire transfer to the

Chasan Law Offices' IOLTA account in PNC Bank, Philadelphia, PA, Routing No.

031000053, Account No. • • •

        10.   Parties. The provisions of this Settlement Agreement shall be binding

upon and inure to the benefit of the successors, assigns, heirs, beneficiaries, and personal

representatives of the signatories hereto.

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           11. - Third Parties.    E~pt as expressly provided herein, no.third party is. --~~~         J
    intended to secure any rights or benefits under this Settlement Agreement.

           12.    Modification. This Settlement Agreement may be modified only by the

    mutual express written consent of the signatories to this Settlement Agreement.

           13.    Advice of Counsel. The undersigned represent and warrant that they are

    competent adult individuals duly authorized to execute this Settlement Agreement and

    have had the advice of counsel regarding the advisability of executing this Settlement

    Agreement.

           14.     Governing Law, Jurisdiction, and Ven                   ettlement Agreement

    shall be governed and interpreted by the laws of                        ofPennsylvania and

    any dispute related to the signatories to thi                greement shall have its

                                                              hia if John M. Pierce, benvvood

I   IlatHikea, the law                              e Beck Price & Hecht, LLP, or any successor

                                     ·dge Beck Price & Hecht brings a lawsuit against The

    Law Offices of Bruce J. Chasan, LLC and/or Bruce J. Chasan or any successor law firm


I   to The Law Offices of Bruce J. Chasan;'          this Settlement Agreement shall be governed

    and interpreted by the laws of the State of California and any dispute will have its

    jurisdiction in California and its venue in Los Angeles if the Law Offices of Bruce J.

    Chasan, LLC and/or Bruce J. Chasan brings a lawsuit against John M. Pierce, Leaweea

    Ilttmik81il, the law firm of Pierce Bainbridge Beck Price & Hecht LLP, or any successor

    to the law firm of Pierce Bainbridge Beck Price & Hecht LLP.         ']:?. F f_rr-f"( ~ fll.€"'

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       15.    Severability. If any term or provision of this Settlement Agreement is

determined to be illegal, invalid or unenforceable under any present or future law by the

fmal judgment of a court of competent jurisdiction, the remainder of this Settlement

Agreement will not be affected thereby.

       16.    Integration Clause. This Settlement Agreement represents the entire

agreement between the parties and there are no representations, warranties, or agreements

other than those expressly set forth herein.

              Intending to be legally bound hereby, this Agreement has been signed by

the Parties below.




Notary Public                                      Bruce J. Chasan, Esq.




 Sworn to and subscribed before me this
~--day of                     , 2018



Notary Public                                      Law Offices of Bruce J. Chasan, LLC


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    Sworn to and subscribed before me this
    -~~day of                     , 2018



    Notary Public                                John M. Pierce, Esq.


    Sworn to and subscribed before me this
    _ _ _ day of                  , 2018



    Notary Public




J




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